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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                            CASE NO. 1:07-cr-00011-MP-AK

CARLOS A. CORREA,

      Defendant.
________________________________/

                                          ORDER

       This matter is before the Court on Doc. 166, Motion To Re-Validate Hearing Subpoenas,

filed by Defendant Carlos Correa. In the motion, Defendant states that prior to the Court

continuing the evidentiary hearing, he served subpoenas upon several witnesses. Because of this

continuance, Defendant requests that the subpoenas be re-validated so that they remain in force

for the November 29, 2007, evidentiary hearing. The Government does not object to

Defendant’s request. Therefore, it is hereby

       ORDERED AND ADJUDGED:

       All subpoenas served by Defendant Carlos Correa for the evidentiary hearing originally
       scheduled for November 1, 2007, are hereby re-validated and shall remain in full force
       and effect for the presently scheduled evidentiary hearing on November 29, 2007, at 1:00
       p.m. Defendant shall notify each subpoenaed witness accordingly.

       DONE AND ORDERED this            8th    day of November, 2007


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
